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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

UNITED STATES OF AMERICA                                                             PLAINTIFF


vs.                                                           CRIMINAL NO. 3:23-CR-37-DJH


ANDREW N. CLOONEY                                                                 DEFENDANTS
CHRISTEL M. CLOONEY

                        UNOPPOSED MOTION FOR PROTECTIVE
                          ORDER REGARDING DISCOVERY

                                  ELECTRONICALLY FILED

       The United States, through undersigned counsel, respectfully moves the Court, pursuant to

Rule 16(d)(1) of the Federal Rules of Criminal Procedure, to enter an order prohibiting the

unauthorized disclosure of certain discovery material or information contained therein to non-

litigants. Counsel for the United States has consulted with counsel for both defendants, and this

motion is unopposed. In support of this motion, the government states as follows:

       Defendants Andrew Clooney and Christel Clooney are charged with one count of wire

fraud, in violation of Title 18, United States Code, Section 1343, and one count of willful failure

to pay tax, in violation of Title 26, United States Code, Section 7203. The discovery materials in

this case contain, among other things, private information of the defendants’ former clients; the

defendants’ private financial information; other private information, including social security

numbers and birth dates; and confidential tax returns and taxpayer return information within the

meaning of Title 26, United States Code, Section 6103(b). Disclosure of tax return and taxpayer

return information is governed by Title 26, United States Code, Section 6103(a), which mandates

that return and return information will be confidential except as authorized by Section 6103.

Section 6103(h)(4)(D) permits disclosure to the defense of such tax return and taxpayer return


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information in accord with Rule 16 of the Federal Rules of Criminal Procedure and Title 18, United

States Code, Section 3500, but further disclosure of this tax return and taxpayer return information

by defendants or their attorneys is restricted by Section 6103.

       The government will follow all requirements of Rule 16, and will follow the requirements

of Title 18, United States Code, Section 3500. The government asks the Court to ensure that the

defendants are informed about the limitations of Federal Rule of Criminal Procedure 6(e),

regarding grand jury transcripts, and Title 26, United States Code, Section 6103(a), regarding tax

returns and taxpayer return information, and the appropriate legal purposes for which certain

discovery may be used.

       The government believes that because of the volume and nature of the discovery in this

case, it is appropriate for the Court to enter a Protective Order containing the following provisions

(when the term “defendants” is used, said term encompasses attorneys for the defendants):

               A.      Many of the materials that will be provided as discovery (hereinafter

       discovery materials), including, but not limited to: individuals’ records, investigators or

       agency memoranda or reports, grand jury transcripts, witness statements, tapes, computer

       disks, transcripts, applications, affidavits, computer or electronic records, memoranda of

       interview, tax returns, correspondence with the Internal Revenue Service, internal books

       and records of a witness’s or defendants’ business, bank records, and any documents and

       tangible objects provided by the government other than trial exhibits (i.e., items actually

       admitted during the trial and made part of the record), are not public information.

       Accordingly, these discovery materials and all copies thereof should be protected from

       unnecessary dissemination.

               B.      Discovery materials provided by the United States should be utilized by the

       defendants solely in connection with the defense of this case and for no other purpose and

       in connection with no other proceeding.
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             C.      Discovery materials provided by the United States and their contents, and

      any notes or other record of such materials or their contents, should not be disclosed either

      directly or indirectly to any person or entity other than the defendants, defendants’ counsel,

      persons employed to assist in the defense, individuals who are interviewed as potential

      witnesses in the case, or such other persons as to whom the Court may authorize disclosure.

             D.      Discovery materials provided by the United States should not be copied or

      reproduced except as necessary to provide copies of the material for use by an authorized

      person as described above to prepare or assist in the defense, and all such copies and

      reproductions will be treated in the same manner as the original matter.

             E.      Defendants’ counsel should inform the defendants of the provisions of the

      Protective Order, and direct them not to disclose or use any information contained in the

      government’s discovery in violation of the Protective Order. However, nothing contained

      in the Protective Order will preclude any party from applying to the Court for further relief

      or for modification of any provision hereof.

                                                     Respectfully submitted,

                                                     MICHAEL A. BENNETT
                                                     United States Attorney


                                                     s/ Amanda E. Gregory________________
                                                     Amanda E. Gregory
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 24, 2023, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system, which will send a notice of electronic filing to the
following: attorneys for the defendants.

                                                 s/ Amanda E. Gregory
                                                 Amanda E. Gregory
                                                 Assistant U.S. Attorney




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